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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

 RITA KUNZ and                   )
 HERMAN KUNZ,                    )
                                 )
            Plaintiffs,          )
                                 )
     vs.                         )                    No. 3:14-cv-00164-RLY-MPB
                                 )
 ROGER S. SHINNERL, M.D. and     )
 EVANSVILLE SURGICAL ASSOCIATES, )
                                 )
            Defendants.          )


                      ORDER GRANTING JOINT STIPULATION OF
                           DISMISSAL WITH PREJUDICE

        The Parties, by counsel, having filed their Joint Stipulation of Dismissal with Prejudice in

 the above-captioned matter, and the Court, having reviewed said Stipulation request and being

 duly advised in the premises, now finds that this matter be and hereby is dismissed with

 prejudice.



 SO ORDERED this 11th day of August, 2016.



                                                     ____________________________________
                                                 __________________________________
                                                     Hon. Matthew P. Brookman
                                                 RICHARD    L. YOUNG,
                                                     Magistrate,           CHIEF District
                                                                 USDC Southern   JUDGE
                                                 United States District Court
                                                 Southern District of Indiana
 Prepared By:

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  Distributed Electronically to Registered Counsel of Record
